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U.S. Department of Justice

United States Attorney
Southern District of New York

26 Federal Plaza, 37" Floor
New York, New York 10278

April 23, 2025

The Honorable Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street

New York, NY 10007

Re: United States v. Combs, $3 24 Cr. 542 (AS)
Dear Judge Subramanian:

The Government respectfully writes in response to the Court’s April 22, 2025 order seeking
additional information regarding the risk of harm to Victim-4 were she to testify under her own
name. Those harms, which are detailed in a declaration from her counsel, attached hereto as
Exhibit A (“Ferrara Decl.”’), are numerous and more than sufficient to warrant a pseudonym.

Victim-4 wishes to testify under a pseudonym. The risk of harm to Victim-4 otherwise,

including psychological, emotional, and professional harms of publicly talking about il
as more than justify the use of a pseudonym. (See Ferrara Decl.
| 4, 8-12); see also United States v. Paris, No. 06 Cr. 64 (CFD), 2007 WL 1484974, at *2 (D.
Conn. May 18, 2007) (allowing use of a pseudonym where victims faced “likely adverse personal,

professional and psychological consequences of publicly linking their identities to their past”
experiences). Victim-4 also fears harassment

(See Ferrara Decl. §§ 15-16). It is quite reasonable
increase exponentially if she testified under her true name,
especially with the press coverage this case has garnered. See United States v. Marcus, No. 05 Cr.
457 (ARR), 2007 WL 330388, at *1 (E.D.N.Y. Jan. 31, 2007) (finding that “[i]n light of the explicit
nature of the conduct that the witnesses will be testifying about . . . the court has determined that
the witnesses’s fear of harassment and reprisals” by the media and others “is legitimate”). The
Court should therefore allow Victim-4 to testify under a pseudonym.

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not, as the defendant suggests, “serve as a waiver’ of her application for a pseudonym or her rights

as a victim to be protected and treated with fairness and respect under the Crime Victims’ Rights
Act, 18 U.S.C. 3771. -— a 21, 2025 Ltr. at 3). rs

The defendant cites no cases in this circuit denying pseudonyms for victim witnesses
Gov’t Pseudonym MIL at 8-9 (collecting cases in which i

Victim-4 has never spoken publicly about the sensitive
topics that she will cover in her testimon
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involvement in this case, she had not spoken to anyone, even in private, .
(Id. § 6). Even where victims have publicly disclosed —which Victim-4
has not—courts have still allowed pseudonyms. See Gov’t Pseudonym MIL at 15 (citing United
States v. Terranova, 750 F. Supp. 3d 15, 27-28 (E.D.N.Y. 2024), United States v. Raniere, No. 18
Cr. 204, Dkt. No. 622 (E.D.N.Y.), and United States v. Maxwell, No. 20 Cr. 330, Dkt. No. 456 at
9 (S.D.N.Y.), all of which allowed pseudonyms where victims had spoken publicly about the
crimes). Given the sensitive nature of Victim-4’s testimony and her lack of public disclosure, a
pseudonym is entirely appropriate.

The defendant suggests that his defense will be hindered if Victim-4 testifies under a
pseudonym. As courts have time and again recognized, the defendant’s rights to put on his case,
including in the cross-examination of witnesses, are not absolute. See United States v. Figueroa,
548 F.3d 222, 227 (2d Cir. 2008). And here, any harm to the defense case is minimal where the
Government is only asking that the victims be allowed to testify under pseudonyms and that their
true names not be included on public exhibits. As the Government made clear at the April 18,
2025 conference, this would nor prohibit the defense from using witnesses’ true names when
conducting their investigations outside of the courtroom. (See Dkt. 263 at 70-71). The relief the
Government seeks, particularly where the defendant knows Victim-4’s true name and is permitted
to conduct an investigation, is the kind of relief courts in this circuit have repeatedly granted. See,
e.g., United States v. Raniere, No. 20-3520-CR, 2022 WL 17544087, at *6-7 (2d Cir. Dec. 9, 2022)
(upholding use of pseudonyms, first names, and nicknames for victims where the defendant knew
the witnesses’ identities); Marcus, 2007 WL 330388, at *3 (allowing witnesses to testify with
different last names even where defendant raised that “a member of the public may come forward
with relevant information contradicting the witness’s testimony”). The Court should do the same
here.

For the foregoing reasons, and for those explained in the Government’s motion in imine
concerning pseudonyms, the Court should permit Victim-4 to testify under a pseudonym.

Respectfully submitted,

JAY CLAYTON
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By: __/s
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